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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                  PLAINTIFF

v.                                   No. 4:09CR00322-04 JLH

SAMUEL RAY BLACK, JR.                                                                   DEFENDANT

                                               ORDER

       Samuel Ray Black, Jr., has filed a motion for early termination of probation or modification

of the conditions of probation. The Court directs the United States to file a response, after consulting

with the probation office, on or before October 31, 2013.

       IT IS SO ORDERED this 17th day of October, 2013.




                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
